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                    UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF VERMONT


WILLIAM NEUENSWANDER,              :
          Plaintiff,               :
                                   :
               v.                  :          File No. 1:05-CV-82
                                   :
UNITED STATES OF AMERICA,          :
          Defendant.               :
___________________________________:

     RULING ON MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                           (Paper 24)

     Plaintiff William Neuenswander brings this medical

malpractice action against the United States pursuant to the

Federal Tort Claims Act (“FTCA”), 28 U.S.C. § 1346(b), alleging

that medical personnel at the White River Junction Veterans

Administration Medical Center (“VAMC”) committed malpractice when

they failed to properly treat his skin disease.           The case is

currently before the Court on the Government’s motion to dismiss

for lack of subject matter jurisdiction.        (Paper 8.)

     The Magistrate Judge filed his thorough and well-reasoned

Report and Recommendation (“R&R”) on February 3, 2006,

recommending this Court deny the motion.        (Paper 24.)      The Court

has reviewed the R&R and the Government’s objections (Paper 25),

and has considered de novo those portions of the R&R to which

objections pertain.    See Fed. R. Civ. P. 72(b); 28 U.S.C. §

636(b)(1)(C).   Because the Magistrate Judge held a lengthy

hearing on the motion to dismiss on January 17, 2006 and the


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Government presented little new information with its objections,

the Government’s request for a hearing on its objections (Paper

25 at 27) is DENIED.

     The Court, moreover, finds the Government’s objections to be

without merit.     In its foremost objection, the Government argues

that the R&R misstated, and thereby heightened, the applicable

standard requiring the plaintiff to know that Government doctors

caused –– rather than “probably caused” or “may have caused” ––

the worsening of his condition.         (Paper 25 at 13.)       Although the

R&R did not fully state the language of the standard, the Court

concludes that the Magistrate Judge properly set out the nuances

of the standard and undertook its analysis using the correct

standard.    Moreover, applying the correct standard, the Court

reaches the same result.

     The Court therefore AFFIRMS, APPROVES and ADOPTS the

Magistrate Judge’s Report and Recommendation, see 28 U.S.C. §

636(b)(1).    The Government’s motion to dismiss is DENIED.               The

matter is hereby returned to the Magistrate Judge for further

proceedings.

     SO ORDERED.

     Dated at Brattleboro, in the District of Vermont, this 22nd

day of March, 2006.

                                          /s/ J. Garvan Murtha
                                          J. Garvan Murtha
                                          United States District Judge


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